                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MISSOURI
                                       AT KANSAS CITY

 BILLIE RODRIGUEZ, DANIEL ERWIN,
 MICHAEL B. ACKERMAN, and KYLE
 FOREMAN, individually and on behalf of all
 others similarly situated,

                  Plaintiffs,
         v.                                                        Case No.: 4:24-cv-00803-SRB

 EXXON MOBIL CORPORATION, CHEVRON
 USA INC., CHEVRON PHILLIPS CHEMICAL
 CORPORATION, DUPONT de NEMOURS,
 INC., DUPONT CORPORATION, CELANESE
 CORPORATION, DOW INC., DOW
 CHEMICAL COMPANY, EASTMAN
 CHEMICAL COMPANY, LYONDELLBASELL
 INDUSTRIES N.V., and AMERICAN
 CHEMISTRY COUNCIL,

                  Defendants.


      SPECIALLY APPEARING DEFENDANT EXXON MOBIL CORPORATION’S
       MOTION TO STAY PROCEEDINGS AND SUGGESTIONS IN SUPPORT

        Specially Appearing Defendant Exxon Mobil Corporation (“ExxonMobil”), 1 by and

through its undersigned counsel, specially appearing for the limited purpose of contesting

venue and seeking transfer to another Court, moves this Court for an order staying these

proceedings pending the Court’s order on ExxonMobil’s motion to transfer venue, filed

simultaneously with this motion. In support of this Motion, ExxonMobil states:



1 Exxon Mobil Corporation specially appears only to contest venue via the first-filed rule. By filing this

motion, ExxonMobil does not concede jurisdiction is proper in the District of Kansas or the Western District
of Missouri, and the instant motion does not prevent ExxonMobil from subsequently filing 12(b) motions in
either forum, including but not limited to motions challenging personal jurisdiction under 12(b)(2).
ExxonMobil explicitly preserves all defenses under Rule 12(b) and intends to file such motions after the
appropriate forum is determined. See Fed. R. Civ. P. 12(h)(1). Lewis & Clark Reg. Water Sys., Inc. v.
Carstensen Contracting, Inc., 355 F. Supp. 3d 880 (D.S.D. Dec. 31, 2018); Dekalb Genetics Corp. v.
Syngenta Seeds, Inc., No. 4:06CV01191-ERW, 2007 WL 1223510, at *5 (E.D. Mo. Apr. 24, 2007).



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   A. Standard of Review

       “[T]he power to stay proceedings is incidental to the power inherent in every court

to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). “In

considering if a stay is appropriate, a court must weigh the parties’ competing interests,

including the potential of prejudice or hardship and judicial economy concerns.” Sitzer v.

Nat’l. Assoc. of Realtors, No. 4:19-cv-00332-SRB, 2020 WL 8224831, at *2 (W.D. Mo.

May 8, 2020) (citing Gould v. Farmers Ins. Exch., 326 F.R.D. 530, 531 (E.D. Mo. 2018)).

   B. Staying This Case Pending Resolution of ExxonMobil’s Motion to Transfer
      Serves All Parties’ Interests and Would Not Prejudice Plaintiffs

       The Court should stay these proceedings pending resolution of ExxonMobil’s

motion to transfer venue. That motion does not in and of itself stay any deadlines to file

an answer or to raise Rule 12(b) defenses. Mgmt. Registry, Inc. v. Batinich, No. 18-1147,

2018 WL 3621036, at *2 n.2 (D. Minn. July 30, 2018). However, given that a grant of the

transfer motion would end this Court’s involvement in this case and will not prejudice

Plaintiffs, a stay is appropriate until the Court rules on ExxonMobil’s motion to transfer.

See Johnson v. KFC Corp., No. 07-0416-CV, 2007 WL 3376750, at *2-3 (W.D. Mo. Nov.

7, 2007) (granting defendant’s motion to stay proceedings pending a decision by the

Judicial Panel for Multidistrict Litigation regarding case transfer); Buie v. Blue Cross and

Blue Shield of Kansas City, Inc., No. 05–0534–CV, 2005 WL 2218461, at *1-2 (W.D. Mo.

Sept. 13, 2005) (same).

       Generally, after a plaintiff files and serves its complaint, a defendant must either

(1) file an answer “within 21 days after being served with the summons and complaint,”

Fed. R. Civ. P. 12(a)(1)(A)(i), or (2) raise defenses by motion under Rule 12(b). If the

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defendant elects the latter, the deadline to file an answer remains in abeyance until the

Court’s resolution of the Rule 12(b) motion or notice of intent to rule on the motion after

trial. Rule 12(a)(4).2

        Requiring ExxonMobil to comply with these motion and answer deadlines while its

motion to transfer remains pending serves neither Plaintiffs’ interests, ExxonMobil’s

interests, nor broader interests in judicial economy. Quite the opposite. Filing a Rule 12(b)

motion and later, an answer, would require significant expenditure of time and effort not

just by ExxonMobil, but also by the Plaintiffs in their response to any motion. Likewise,

back-and-forth Rule 12 motion practice, while the Court considers ExxonMobil’s transfer

motion, does not serve the Court’s interests in judicial economy and that is especially so

if the Court ultimately grants the motion. For the same reasons, a stay pending resolution

of that motion does not prejudice Plaintiffs. Whether the Court transfers the case or not,

this Court or the transferee court may immediately lift the stay after a ruling on the transfer

motion and set a schedule for further proceedings.

        As the Federal Circuit has explained, “[a]lthough district courts have discretion as

to how to handle their dockets, once a party files a transfer motion, disposing of that

motion should unquestionably take top priority.” In re Apple Inc., 979 F.3d 1332, 1337

(Fed. Cir. 2020) (emphasis added). This especially makes sense here, where there has

been no activity in the litigation aside from filing the complaint itself and service thereof.

The Court should stay these proceedings pending resolution of ExxonMobil’s motion to

transfer this case to the District of Kansas.



2 As ExxonMobil also noted in its suggestions in support of its Motion to Transfer Venue, ExxonMobil

reserves the right to raise defenses under Rule 12(b), including a jurisdictional challenge, as a transfer
motion does not bar it from doing so. See supra at n.1.
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                                    CONCLUSION

      For the foregoing reasons, the Court should stay these proceedings until it resolves

Specially Appearing Defendant ExxonMobil’s motion to transfer.



Dated: December 22, 2024                       Respectfully submitted,

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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on December 22, 2024, I electronically filed
the foregoing with the Clerk of the Court by using the CM/ECF system, which will send a
notice of electronic filing to counsel of record.

                                               /s/ Richard N. Bien
                                               Richard N. Bien
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